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 1                                                              HON. RICHARD A. JONES
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 5
                           UNITED STATES DISTRICT COURT
 6
                          WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE

 8
     UNITED STATES OF AMERICA,                   ) No. CR20-085RAJ
 9                                               )
                            Plaintiff,           ) ORDER
10                                               )
               v.                                )
11                                               )
     HARBANS SINGH,                              )
12                                               )
                            Defendant.           )
13                                               )
14         THIS MATTER comes before the Court upon Defendant Harbans Singh’s

15   Motion to Dismiss Counts 1 and 2, Motion to Dismiss Multiplicitous Counts, and

16   Motion to Dismiss Case. Having considered the motion and all related briefing, and the

17   files and records herein, and having heard argument of counsel during a hearing held on

18   November 4, 2020, for the reasons set forth orally on the record,

19         IT IS ORDERED that Defendant Harbans Singh’s Motion to Dismiss Counts 1

20   and 2 (Dkt. #19) is DENIED, Motion to Dismiss Multiplicitous Counts (Dkt. #27) is

21   GRANTED as to Count 3 and DENIED as to Counts 1 and 4, and Motion to Dismiss

22   Case (Dkt. #28) is DENIED.

23         DATED this 5th day of November, 2020.

24
25
                                                     A
                                                     The Honorable Richard A. Jones
26                                                   United States District Judge



       ORDER - 1
